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                       THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



     ENCORE BENEFIT MANAGEMENT,
     INC.,

         Plaintiff,

         v.
                                                        Civil No. 18-1788 (ADC)

     PHOENIX BENEFITS MANAGEMENT,
     INC.,

         Defendant.



                                   OPINION AND ORDER

        Before the Court is defendant Phoenix Benefit Management’s (“defendant”) motion to

dismiss based on insufficient service, ECF No. 8, and plaintiff Encore Benefit Management’s

(“plaintiff”) motion to remand to state court, ECF No. 11. For the following reasons, the motion

to dismiss at ECF No. 8 is MOOT and the motion to remand at ECF No. 11 is DENIED.

I.      Procedural Background

        On September 6, 2018, plaintiff filed a complaint against defendant seeking over

$1 million in monetary damages in the Puerto Rico Court of First Instance, San Juan Part,

docketed in the state court as case number 2018-CV07066 (“the contract case”). Civil No. 18-

1821, ECF No. 8-1 at 10. On the same day, plaintiff filed a separate case in state court seeking

injunctive relief against defendant, docketed as case number 2018-CV07069 (“the injunction

case”). ECF Nos. 16-1; 27-1 at 10. Plaintiff moved for consolidation of the cases in state court,
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explaining that a “clerical error” caused the injunction request and contract complaint to be filed

as two separate cases. ECF No. 16-1.

       Defendant then removed both actions to this Court, where they were docketed as Civil

Case No. 18-1821 (JAG) and No. 18-1788 (ADC). The Court granted defendant’s request to

consolidate both actions into the present case, to which plaintiff ultimately consented. ECF Nos.

1, 29; Civil No. 18-1821, ECF Nos. 1, 9, 11.

II.    Analysis

       In its motion to dismiss, defendant complains that plaintiff’s service of process in the

injunction case was deficient because the contract complaint was not included with the

injunction filings. ECF No. 9 at 3–4. Defendant does not claim that the service effectuated in the

contract case was improper. In other words, the document defendant claims was missing from

the injunction case’s service—the contract complaint—was properly served on defendant in the

contract case. Having consolidated the two matters, the Court considers defendant’s motion to

dismiss for insufficient service moot.

       Plaintiff’s request for remand in the injunction case is based on lack of diversity

jurisdiction arising out of the inability to meet the amount in controversy requirement due to

plaintiff’s request for purely equitable relief. ECF No. 11. Plaintiff concedes that the parties meet

the diversity requirement. Id. at 4. Regardless of the degree of merit plaintiff’s argument for

remand had, now that the injunction case and contract case are consolidated, the amount in

controversy is clearly within the jurisdictional range. Civil No. 18-1821, ECF No. 8-1. See Hunt

v. Washington State Apple Advert. Comm'n, 432 U.S. 333, 347 (1977) (“In actions seeking
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declaratory or injunctive relief, it is well established that the amount in controversy is measured

by the value of the object of the litigation.”). As stated above, the plaintiff seeks over $1 million

in damages under the contract case.

       Plaintiff also seeks remand on the basis that the parties agreed to adjudicate issues under

their contract in “any court of competent jurisdiction located in San Juan, Puerto Rico.” ECF No.

11 at 5. Plaintiff implies, without explanation, that this means the state court in San Juan. This

argument is a nonstarter. This Court is both in San Juan and has diversity jurisdiction over the

matter. Accordingly, the motion to remand is also DENIED. ECF No. 11.

III.   Conclusion

       The motion at ECF No. 8 is MOOT and the motion at ECF No. 11 is DENIED. The motion

to dismiss or consolidate filed in the now-consolidated case, Civil No. 18-1821, ECF No. 6, is also

MOOT.

       SO ORDERED.

       At San Juan, Puerto Rico, on this 13th day of March, 2019.

                                                    S/AIDA M. DELGADO-COLÓN
                                                    United States District Judge
